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                                                                           U.fJ~~~qRT
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                                                                           APR 1~ 2013
                    IN THE UNITED STATES DISTRICT C~lJMJ~.
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                                                               . CllE_E:_~R.<<
                        EASTERN DISTRICT OF ARKANS¥ -~~~-
                             WESTERN DIVISION                 DEP CLC:~"


UNITED STATES OF AMERICA                                                         PLAINTIFF

vs.                                  NO. 4:13MJ6010-02-BD

JEAN-MARC CHENIER                                                             DEFENDANT


                                           ORDER

       The Defendant appeared before the Court on this date for arraignment. Defendant

is not well-versed in the English language and is unable to understand the proceedings

being conducted. Defendant and his counsel request the assistance of an interpreter to

enable Defendant to communicate with and comprehend the presiding judicial officers

and other parties at any and all proceedings conducted in court.

       The Court therefore directs that an interpreter be appointed, pursuant to Rule 28 of

the Federal Rules of Criminal Procedure. The Clerk is directed to appoint a qualified

interpreter to assist the Defendant, counsel, and the court at any and all court proceedings

in this case.
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                           1 day of ~ d..DI 3.
       IT IS SO ORDERED this~




                                           UNITED STATES MAGISTRATE JUDGE
